AO 106 (Rev. 04/10) Application for a Search Warrant

                                          UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District of Wisconsin

          In the Matter of the Search of:
                                                                     )
  Location of the cellular telephone assigned call                   )
  Number 414.231.0744, described more fully in                       )                 20-913M(NJ)
                                                                             Case No. ________________________
  Attachment A.                                                      )
                                                                     )
                                                                     )

                                          APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

  See Attachment A.



located in the Eastern District of Wisconsin, there is now concealed:

   See Attachment B.


The basis for the search under Fed. R. Crim P. 41(c) is:
       ‫ ܈‬evidence of a crime;
       ‫ ܆‬contraband, fruits of crime, or other items illegally possessed;
       ‫ ܈‬property designed for use, intended for use, or used in committing a crime;
       ‫ ܆‬a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: 21 U.S.C. § 841


The application is based on these facts: See attached affidavit.

‫ ܈‬Delayed notice of __30__ days (give exact ending date if more than 30 days:________________) is requested
  under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


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                                                                                         _
                                                                                       Applicant’s
                                                                                       A  li t’ signature
                                                                                                   i t

                                                                      DEA Special Agent Scott Marlow,
                                                                             Printed Name and Title

Sworn to before me and signed in my

presence: Date:                                               _______________________________________________
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                                                                                       Judge’s
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City and State: Milwaukee, Wisconsin                                      Nancy Joseph                          , U.S. Magistrate Judge
                                                                                       Printed Name and Title
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                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

      I, Scott Marlow, being first duly sworn, hereby depose and state as follows:

                  INTRODUCTION AND AGENT BACKGROUND

      1.      I make this affidavit in support of an application for a search warrant under

Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(1)(A), for information

about the location of the cellular telephone assigned call number 414.231.0744 (Target

Cell Phone #1), whose service provider is T-Mobile, a wireless telephone service provider

headquartered in Parsippany, New Jersey. Target Cell Phone #1 is described herein and

in Attachment A, and the location information to be seized is described herein and in

Attachment B.

      2.      I have worked full-time as a law enforcement officer for the past twenty-

one (21) years. I am a Special Agent for the Drug Enforcement Administration assigned

to the Milwaukee District Office. I have been so employed for the past 12 years. Prior to

my current employment, I was a police officer for the City of West Allis for approximately

9 years. During my duration as a law enforcement officer, I have received specialized

training in identifying and investigating narcotic distribution enterprises and their

related criminal activities.   I have personally been involved in a number of such

investigations. During my tenure with DEA, my primary investigative specialization has

been in the area of urban heroin, cocaine and/or poly drug conspiracies. Presently, I am

part of a team of experienced narcotics law enforcement investigators/officers, including




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Special Investigators and Task Force Officers of the DEA, with experience in

investigations concerning controlled substance law enforcement.

       3.      I have participated in numerous complex narcotics investigations which

involved violations of state and federal controlled substances laws and money

laundering laws including Title 21, United States Code, Sections 841(a)(1), 843(b) and 846,

and Title 18, United States Code, Sections 1956 and 1957, and other related offenses. I

have had both formal training and have participated in numerous complex drug

trafficking investigations, including ones using wiretaps. More specifically, my training

and experience includes the following:

       a.      I have utilized informants to investigate drug trafficking. Through
               informant interviews, and extensive debriefings of individuals involved in
               drug trafficking, I have learned about the manner in which individuals and
               organizations distribute controlled substances in Wisconsin and
               throughout the United States;

      b.       I have also relied upon informants to obtain controlled substances from
               dealers, and have made undercover purchases of controlled substances;

      c.       I have extensive experience conducting street surveillance of individuals
               engaged in drug trafficking. I have participated in the execution of
               numerous search warrants where controlled substances, drug
               paraphernalia, and drug trafficking records were seized;

      d.       I am familiar with the appearance and street names of various drugs,
               including marijuana, heroin, cocaine, cocaine base (unless otherwise noted,
               all references to crack cocaine in this affidavit is cocaine base in the form of
               crack cocaine), ecstasy, and methamphetamine. I am familiar with the
               methods used by drug dealers to package and prepare controlled
               substances for sale. I know the street values of different quantities of the
               various controlled substances;



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      e.      I am familiar with the language utilized over the telephone to discuss drug
              trafficking, and know that the language is often limited, guarded, and
              coded;

      f.      I know that drug traffickers often use electronic equipment and wireless
              and land line telephones to conduct drug trafficking operations;

      g.      I know that drug traffickers commonly have in their possession, and at their
              residences and other locations where they exercise dominion and control,
              firearms, ammunition, and records or receipts pertaining to such;

      h.      I have been assigned to court-authorized wiretaps and have been trained to
              operate the equipment utilized to conduct such operations;

      i.      I know that drug traffickers often put their telephones in nominee names in
              order to distance themselves from telephones that are utilized to facilitate
              drug trafficking; and

      j.      I know that drug traffickers often use drug proceeds to purchase assets such
              as vehicles, property, and jewelry. I also know that drug traffickers often
              use nominees to purchase and/or title these assets in order to avoid
              scrutiny from law enforcement officials.

      4.      This affidavit is based upon my personal knowledge and upon information

reported to me by other federal and local law enforcement officers during the course of

their official duties, all of whom I believe to be truthful and reliable. Throughout this

affidavit, reference will be made to case agents. Case agents are those federal, state, and

local law enforcement officers who have directly participated in this investigation, and

with whom your affiant has had regular contact regarding this investigation.

      5.      I am an investigative or law enforcement officer of the United States within

the meaning of Section 2510(7) of Title 18, United States Code, in that I am empowered

by law to conduct investigations of, and to make arrests for, federal felony offenses.


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       6.      Based on the facts set forth in this affidavit, there is probable cause to

believe that violations of Title 21, United States Code, Sections 841(a)(1) (distribution and

possession with the intent to distribute controlled substances) have been committed, are

being committed, and will be committed by Denzil CROSBY. There is also probable cause

to believe that the location information described in Attachment B will constitute

evidence of these criminal offenses.

                                    PROBABLE CAUSE

       7.      In February of 2019, case agents working at HIDTA received information

from a source of information (SOI) regarding a heroin and cocaine dealer known as

“True,” and subsequently positivitely identified by the SOI as Denzil CROSBY (dob:

03/07/1995) On February 2, 2019, CROSBY provided the SOI with less than one gram of

suspected heroin, which was payment for renting a vehicle for CROSBY, and the SOI

turned that suspected heroin over to case agents. The suspected heroin tested positive for

the presence of opiated.

       8.      On March 4, 2019, case agents conducted surveillance of CROSBY and

Milwaukee Police Department officers attempted to conduct a traffic stop of the vehicle

in which CROSBY was a passenger. The driver of the vehicle pulled over and according

to the driver, CROSBY then began to panic, attempted to manipulate the gear shift, and

attempted to have the driver flee the traffic stop. CROSBY was detained by the MPD

officers and provided a false name to the officers. CROSBY later admitted to having




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heroin and cocaine on his person, and he turned over a plastic bag which contained 1.9

grams of heroin and 1.1 grams of cocaine.

       9.       On March 16, 2020, Milwaukee Police Department officers attempted a

traffic stop of a reckless vehicle. The vehicle fled police and crashed into another occupied

vehicle killing one of the occupants. The fleeing/ striking vehicle is a 2016 Chevy Impala,

VIN (1G1105SA0GU164027). Inside the Impala in plain view was a pistol and narcotics.

The pistol recovered from the vehicle was a Glock Model 30, .45cal semiautomatic pistol.

Serial # EHP926US. The suspected cocaine was broken down into 4 smaller bags. The

first bag had 13 individually wrapped bags with a total weight of 17.47 grams; the second

bag had 8 individually wrapped bags with a total weight of 4.29 grams; the third bag had

6 individually wrapped bags with a total weight of 1.42grams; and, the fourth bag had a

total weight of 2.01 grams. Officers also recovered marijuana from the vehicle. Multiple

witnesses identified CROSBY as being the driver of the vehicle.

       10.      On March 19, 2020, case agents received information from a confidential

source (CS #1) regarding CROSBY’s heroin trafficking activities and his current location

near the Illinois boarder. CS #1 stated that within the past two weeks s/he has observed

CROSBY in possession of distribution amounts of heroin in Milwaukee and observed

CROSBY with large amounts of U.S. currency, which CS #1 believed to be proceeds from

heroin trafficking. CS #1 stated that CROSBY is currently evading law enforcement in an

unknown location in either Wisconsin or Illinois. CS #1 stated that CROSBY admitted to

being involved in the crash on March 16, 2020 and stated that he fled because of the drugs

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in the vehicle. CS #1 stated that on March 19, 2020, CROSBY called CS #1 from a blocked

number and told CS #1 to meet with CROSBY this evening, March 19, 2020 near the

Illinois border to bring him a cellular telephone in CS #1’s name. Target Cell Phone #1

is currently in the possession of case agents and CS #1 has agreed to take possession of

Target Cell Phone #1 this evening and will provide Target Cell Phone #1 to CROSBY at

their meeting, which is currently scheduled to occur on March 19, 2020.

       11.      For several reasons, case agents believe that CS #1 is reliable and credible.

First, CS #1 has been providing information since 2018 and the information provided in

the past has led to multiple arrests and several search warrants. Second, the information

provided by CS #1 in this investigation is consistent with evidence obtained elsewhere in

this investigation where CS #1 was not utilized, and substantial portions of CS #1’s

information has been corroborated through independent investigation, including other

law enforcement reports and sources of information.            CS #1 has no prior felony

convictions and is cooperating for monetary consideration. Finally, CS #1 has had an

adequate opportunity to directly observe the events discussed and/or has heard

conversations directly from the individuals discussed herein.        For these reasons, case

agents believe CS #1 to be reliable.

       12.      Case agents searched law enforcement databases to confirm that Target

Cell Phone #1 is currently being serviced by T-Mobile.

       13.      Case agents are requesting this warrant authorizing the disclosure of data

related to Target Cell Phone #1 for 45 days to further investigate CROSBY’s activities,

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and to identify locations to which CROSBY is traveling in order to further his drug

distribution network.

       14.      Based upon my training and experience, I know that individuals involved

in drug trafficking use their cellular telephones to contact other drug dealers and drug

purchasers, and that information relating to their telephones may show the areas in

which they are trafficking drugs and the individuals who they are contacting to sell or

distribute the drugs. Based upon the facts in this affidavit, there is probable cause to

believe that CROSBY is engaged in the trafficking and distribution of heroin and is likely

to use Target Cell Phone #1 while engaged in these crimes. I further submit that probable

cause exists to believe that obtaining the location information of Target Cell Phone #1

will assist case agents in determining CROSBY’s customers, co-conspirators, sources of

supply, and help to identify stash houses.

       15.      In my training and experience, I have learned that T-Mobile is a company

that provides cellular telephone access to the general public. I also know that providers

of cellular telephone service have technical capabilities that allow them to collect and

generate at least two kinds of information about the locations of the cellular telephones

to which they provide service: (1) E-911 Phase II data, also known as GPS data or latitude-

longitude data, and (2) cell-site data, also known as “tower/face information” or cell

tower/sector records. E-911 Phase II data provides relatively precise location information

about the cellular telephone itself, either via GPS tracking technology built into the phone

or by triangulating on the device’s signal using data from several of the provider’s cell

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towers. Cell-site data identifies the “cell towers” (i.e., antenna towers covering specific

geographic areas) that received a radio signal from the cellular telephone and, in some

cases, the “sector” (i.e., faces of the towers) to which the telephone connected. These

towers are often a half-mile or more apart, even in urban areas, and can be 10 or more

miles apart in rural areas. Furthermore, the tower closest to a wireless device does not

necessarily serve every call made to or from that device. Accordingly, cell-site data is

typically less precise that E-911 Phase II data.

       16.      Based on my training and experience, I know that T-Mobile can collect E-

911 Phase II data about the location of the Target Cell Phone #1, including by initiating

a signal to determine the location of the Target Cell Phone #1 on T-Mobile network or

with such other reference points as may be reasonably available.

       17.      Based on my training and experience, I further know that T-Mobile can

collect what are known as RTT records, PCMD records, NELOS records, Timing Advance

(“TrueCall”) records, and other records containing timing advance measurements and

distance-to-tower measurements for various technologies (including CDMA, GSM,

UMTS, LTE, etc.).

       18.      Based on my training and experience, I know that T-Mobile can collect cell-

site data about Target Cell Phone #1.

                              AUTHORIZATION REQUEST

       19.      Based on the foregoing, I request that the Court issue the proposed search

warrant, pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c).


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       20.     I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of

Criminal Procedure 41(f)(3), that the Court authorize the officer executing the warrant to

delay notice until 180 days after the collection authorized by the warrant has been

completed. There is reasonable cause to believe that providing immediate notification of

the warrant may have an adverse result, as defined in 18 U.S.C. § 2705. Providing

immediate notice to the subscriber or user of Target Cell Phone #1 would seriously

jeopardize the ongoing investigation, as such a disclosure would give that person an

opportunity to destroy evidence, change patterns of behavior, notify confederates, and

flee from prosecution. See 18 U.S.C. § 3103a(b)(1). As further specified in Attachment B,

which is incorporated into the warrant, the proposed search warrant does not authorize

the seizure of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the extent

that the warrant authorizes the seizure of any wire or electronic communication (as

defined in 18 U.S.C. § 2510) or any stored wire or electronic information, there is

reasonable necessity for the seizure for the reasons set forth above. See 18 U.S.C. §

3103a(b)(2).

       21.     I further request that the Court direct T-Mobile to disclose to the

government any information described in Attachment B that is within the possession,

custody, or control of T-Mobile for a time period of 45 days from the date the warrant is

signed. I also request that the Court direct T-Mobile to furnish the government all

information, facilities, and technical assistance necessary to accomplish the collection of

the information described in Attachment B unobtrusively and with a minimum of

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interference with T-Mobile services, including by initiating a signal to determine the

location of Target Cell Phone #1 on T-Mobile network or with such other reference points

as may be reasonably available, and at such intervals and times directed by the

government. The government shall reasonably compensate T-Mobile for reasonable

expenses incurred in furnishing such facilities or assistance.

       22.    I further request that the Court authorize execution of the warrant at any

time of day or night, owing to the potential need to locate Target Cell Phone #1 outside

of daytime hours.




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                                  ATTACHMENT A
                                Property to Be Searched

      1.      The cellular telephone assigned call number 414.231.0744 (Target Cell

Phone #1), whose wireless service provider is T-Mobile, a company headquartered at 4

Sylvan , Parsippany, New Jersey.

      2.      Information about the location of Target Cell Phone #1 that is within the

possession, custody, or control of T-Mobile.




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                                   ATTACHMENT B
                             Particular Things to be Seized

      All information about the location of Target Cell Phone #1 described in

Attachment A for a period of forty-five days from the date the warrant is signed, during

all times of day and night. “Information about the location of Target Cell Phone #1”

includes all available E-911 Phase II data, GPS data, latitude-longitude data, and other

precise location information, including RTT records, PCMD records, NELOS records,

Timing Advance (“TrueCall”) records, and all other records containing timing advance

measurements and distance-to-tower measurements for various technologies (including

CDMA, GSM, UMTS, LTE, etc.), as well as all data about which “cell towers” (i.e., antenna

towers covering specific geographic areas) and “sectors” (i.e., faces of the towers)

received a radio signal from the cellular telephone described in Attachment A.

      To the extent that the information described in the previous paragraph

(hereinafter, “Location Information”) is within the possession, custody, or control of T-

Mobile, T-Mobile is required to disclose the Location Information to the government. In

addition, T-Mobile must furnish the government all information, facilities, and technical

assistance necessary to accomplish the collection of the Location Information

unobtrusively and with a minimum of interference with T-Mobile’s services, including

by initiating a signal to determine the location of Target Cell Phone #1 on T-Mobile’s

network or with such other reference points as may be reasonably available, and at such

intervals and times directed by the government. The government shall compensate T-

Mobile for reasonable expenses incurred in furnishing such facilities or assistance.




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      This warrant does not authorize the seizure of any tangible property. In approving

this warrant, the Court finds reasonable necessity for the seizure of the Location

Information. See 18 U.S.C. § 3103a(b)(2).




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